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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

CARLOS DEAN SCOTT,

        Plaintiff,


v.                                       CIVIL ACTION NO. 1:08-0047
                                         (Criminal No. 1:02-000241)

UNITED STATES OF AMERICA,

        Defendant.

                     MEMORANDUM OPINION AND ORDER

        Pending before the court is plaintiff’s motion under 28

U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a

Person in Federal Custody.      By Standing Order, the action was

referred to United States Magistrate Judge R. Clarke VanDervort

for submission of findings of fact and recommendation regarding

disposition pursuant to 28 U.S.C. § 636(b)(1)(B).             Magistrate

Judge VanDervort submitted his Findings and Recommendation to the

court on June 22, 2010, in which he recommended that the court

dismiss plaintiff’s motion under 28 U.S.C. § 2255, and remove the

matter from the court’s docket.

        In accordance with the provisions of 28 U.S.C. § 636(b),

the parties were allotted fourteen days plus three mailing days

in which to file any objections to Magistrate Judge VanDervort’s

Findings and Recommendations.       By Order entered July 16, 2010,

the court granted plaintiff’s motion for additional time and

plaintiff was given additional time to file his objections.                 On
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July 26, 2010, plaintiff filed his objections.             With respect to

those objections, the court has conducted a de novo review.

        In his § 2255 motion, Scott listed the following four

grounds for habeas relief:

        1)       That the testimony of the witnesses
                 against him was not credible;

        2)       That he was sentenced based on a drug
                 quantity that was unsupported by the
                 jury’s verdict;

        3)       That his sentencing guideline range, as
                 calculated by the district court, was
                 incorrect; and

        4)       That he improperly received a weapons
                 enhancement at sentencing.

Magistrate Judge VanDervort found that Scott was not entitled to

habeas relief.       As to the first ground concerning the credibility

of witnesses, Magistrate Judge VanDervort found that said claim

was procedurally defaulted based on Scott’s failure to raise it

in a direct appeal.      The remaining grounds for relief were all

challenges to Scott’s sentence and Magistrate Judge VanDervort

concluded that they were raised on appeal and rejected.               He also

noted that claims of error in sentencing are generally not

cognizable under 28 U.S.C. § 2255.

        In his objections, plaintiff attempts to avoid dismissal

of his motion to vacate by arguing that any procedural default is

due to the ineffectiveness of his counsel.            For example, he

attributes his failure to raise the witness credibility issue on


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appeal to deficient performance on the part of his attorney.                See

Objections at 2.     In his motion, Scott stated that he did not

raise the issue on appeal because “my attorney didn’t think it

was a good issue.”     Plaintiff’s Motion to Vacate Under 28 U.S.C.

§ 2255 at 5.

        At the outset, the court agrees with Magistrate Judge

VanDervort that Scott’s first ground for relief “amounts to

nothing more than a challenge to the credibility of witnesses at

his trial, an issue that cannot be raised for the first time on

collateral attack.”     Hinshaw v. United States, 2010 WL 569948, *9

(N.D. Ill. 2010); see also Norris v. United States, 687 F.2d 899,

900 (7th Cir. 1982) (“[T]he credibility of a witness is not a

constitutional issue.”).

        However, even if it were not procedurally defaulted,

Scott cannot meet his high burden of showing that if the claim

were advanced it would entitle him to habeas relief.             At trial,

Scott was represented by able counsel who presented a vigorous

defense which included attacking the credibility of the

government’s witnesses.      “The question of credibility was thus

put before the jury, and `our adversary system reposes judgment

of the credibility of all witnesses in the jury.’” Mazzell v.

Evatt, 88 F.3d 263, 270-71 (4th Cir. 1996) (quoting Brooks v.

Tennessee, 406 U.S. 605, 611 (1972)); see also United States v.

Scheffer, 523 U.S. 303, 313 (1998) (“A fundamental premise of our

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criminal trial system is that the jury is the lie detector.”)

(internal citations and quotations omitted) (emphasis in

original); United States v. Jimenez, 2007 WL 2122102, *1 (4th

Cir. 2002) (“[I]t is well established that the question of

witness credibility is within the sole province of the jury and

not susceptible to review.”).

        The court has also considered Scott’s claim that his

counsel was ineffective for failing to raise the witness

credibility issue on direct appeal.         The standards established by

the United States Supreme Court in determining whether a

defendant was denied his Sixth Amendment right to effective

assistance of counsel are set forth in Strickland v. Washington,

466 U.S. 668, 687 (1984).      Under Strickland, a plaintiff must

show (1) that counsel’s performance was so deficient that it fell

below an objective standard of reasonableness, and (2) that

counsel’s deficiency resulted in prejudice so as to render the

results of the trial unreliable.         Id. at 687-91.     Counsel’s

performance is entitled to a presumption of reasonableness.               Id.

Thus, a habeas plaintiff challenging his conviction on the

grounds of ineffective assistance must overcome a strong

presumption that the challenged actions constituted sound trial

strategies.    Id. at 689.    The Court in Strickland cautioned

against the ease in second-guessing counsel’s unsuccessful

assistance after the adverse conviction and sentence are entered.


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Id.   The Fourth Circuit Court of Appeals specifically recognized

that ineffective assistance of counsel may not be established by

a “Monday morning quarterbacking” review of counsel’s choice of

trial strategy.      Stamper v. Muncie, 944 F.2d 170, 178 (4th Cir.

1991), cert. denied, 506 U.S. 1087 (1993).

         A criminal defendant’s right to effective assistance of

counsel requires that counsel be provided for the direct appeal

of a criminal conviction.      Bell v. Jarvis, 236 F.3d 149, 164 (4th

Cir. 2000) (en banc)

                In applying the [Strickland] test to
         claims of ineffective assistance of counsel on
         appeal, however, reviewing courts must accord
         appellate counsel the presumption that he decided
         which issues were most likely to afford relief on
         appeal. Counsel is not obligated to assert all
         nonfrivolous issues on appeal, as there can
         hardly be any question about the importance of
         having the appellate advocate examine the record
         with a view to selecting the most promising
         issues for review. Indeed, winnowing out weaker
         arguments on appeal and focusing on those more
         likely to prevail, far from being evidence of
         incompetence, is the hallmark of effective
         appellate advocacy. Although recognizing that
         notwithstanding Barnes, it is still possible to
         bring a Strickland claim based on counsel’s
         failure to raise a particular claim on direct
         appeal, the Supreme Court has recently reiterated
         that it will be difficult to demonstrate that
         counsel was incompetent. Generally, only when
         ignored issues are clearly stronger than those
         presented, will the presumption of effective
         assistance of counsel be overcome.

Id. (internal citations and quotation omitted).            As our court of

appeals has elaborated, “a discussion with the defendant

regarding a direct appeal and what issues to pursue (if any) is

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critical, as `multiplying assignments of error will dilute and

weaken a good case and will not save a bad one.’” Frazer v. South

Carolina, 430 F.3d 696, 705 (4th Cir. 2005) (quoting Jones v.

Barnes, 463 U.S. 745, 752 (1983)).

        Under the foregoing standard, it is clear that Scott’s

counsel was not ineffective for failing to pursue the witness

credibility issue on appeal.        Scott pursued a number of issues on

appeal and, as he makes clear in his § 2255 motion, the reason

behind the failure to pursue the credibility issue was counsel’s

advice to advance only the strongest arguments on appeals.               Given

“that counsel need not raise every colorable claim on appeal” and

the fact that “counsel has some latitude to decide what issues

are to be pressed on appeal,” Cole v. Branker, 2008 WL 5999766,

*9 (4th Cir. 2008), Scott cannot show that his attorney’s conduct

was objectively unreasonable.

        Finally, the court finds no error in Magistrate Judge

VanDervort’s conclusion that the alleged errors in Scott’s

sentencing cannot be raised in this proceeding.

        Barring extraordinary circumstances, however, an
        error in the application of the Sentencing
        Guidelines cannot be raised in a § 2255
        proceeding. Section 2255 provides relief for
        cases in which the sentence was in excess of the
        maximum authorized by law. Thus, while § 2255
        applies to violations of statutes establishing
        maximum sentences, it does not usually apply to
        errors in the application of the Sentencing
        Guidelines.



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United States v. Pregent, 190 F.3d 279, 283-84 (4th Cir. 1999)

(internal quotations and citations omitted); see also United

States v. Mikalajunas, 186 F.3d 490, 496-97 (4th Cir. 1999)

(“[T]he mere misinterpretation or application of a guideline

provision generally does not amount to a miscarriage of justice

that warrants relief under § 2255.”).

        For the reasons expressed herein, plaintiff’s objections

are OVERRULED.       Accordingly, the court adopts the Findings and

Recommendations of Magistrate Judge VanDervort, DISMISSES

plaintiff’s motion under 28 U.S.C. § 2255, and directs the Clerk

to remove the matter from the court’s docket.

        Additionally, the court has considered whether to grant a

certificate of appealability.        See 28 U.S.C. § 2253(c).         A

certificate will not be granted unless there is “a substantial

showing of the denial of a constitutional right.”              28 U.S.C. §

2253(c)(2).    The standard is satisfied only upon a showing that

reasonable jurists would find that any assessment of the

constitutional claims by this court is debatable or wrong and

that any dispositive procedural ruling is likewise debatable.

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v.

McDaniel, 529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676,

683-84 (4th Cir. 2001).       The court concludes that the governing

standard is not satisfied in this instance.            Accordingly, the

court DENIES a certificate of appealability.


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        The Clerk is directed to send copies of this Memorandum

Opinion and Order to counsel of record and to plaintiff, pro se.

        IT IS SO ORDERED this 29th day of March, 2011.

                                         ENTER:


                                         David A. Faber
                                         Senior United States District Judge




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